                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRIT OF WISCONSIN
                           MILWAUKEE DIVISION


CIRCUIT RACING HC, LLC and
JUSTIN BEHN,                              Case No. 2:22-cv-00968

               Plaintiffs,

       v.

CITY OF HARTFORD, ERIK
ENGEBRETSEN, MITCHELL
KRAEMER, RICHARD THICKENS,
and JOHN DOES 1-10,

               Defendants.


                                  COMPLAINT


      NOW COMES Plaintiff Justin Behn, by his attorneys, THE SULTON LAW

FIRM LLC, by Attorney William F. Sulton and alleges the following:

                              I. INTRODUCTION

      1.      Plaintiff Justin Behn owned and operated Plaintiff Circuit Racing HC

LLC. On August 20, 2019, City of Hartford police officers permitted civilians,

known to the officers to be involved in property disputes with Plaintiffs, to

trespass on Mr. Behn’s home (also the location of Circuit Racing) during the

execution of a search warrant. The civilians caused damage to real, personal, and

business property; and took-and-carried away personal and business property.

Defendants’ misconduct was a knowing violation of Plaintiffs’ clearly established


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constitutional rights under the Fourth and Fourteenth Amendments to the United

States Constitution.

                                II. THE PARTIES

      A.      The Plaintiffs

      2.      Plaintiff Circuit Racing HC, LLC (“Circuit Racing”) is a Wisconsin

limited liability company with its principal office in Washington County,

Wisconsin.

      3.      Plaintiff Justin Behn (“Mr. Behn”) is an adult resident of Washington

County, Wisconsin.

      B.      The Defendants

      4.      Defendant City of Hartford (“City of Hartford”) is a municipality

incorporated in the State of Wisconsin. As a local government entity, the City of

Hartford is a juridical entity under 42 U.S.C. § 1983.        The Hartford Police

Department is a division of the City of Hartford.

      5.      Defendant Erik Engebretsen (“Det. Engebretsen”), at all times

relevant to Mr. Behn’s claims, was a police detective working for the City of

Hartford. Det. Engebretsen, at all times relevant to Mr. Behn’s claims, was acting

under color of law and within the scope of his employment as a police detective.

      6.      Defendant Mitchell Kraemer (“Ofc. Kraemer”), at all times relevant

to Mr. Behn’s claims, was a police officer working for the City of Hartford. Ofc.

Kraemer, at all times relevant to Mr. Behn’s claims, was acting under color of law

and within the scope of his employment as a police officer.


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      7.      Defendant Richard Thickens (“Det. Thickens”), at all times relevant

to Mr. Behn’s claims, was a police detective working for the City of Hartford. Det.

Thickens, at all times relevant to Mr. Behn’s claims, was acting under color of law

and within the scope of his employment as a police detective.

      8.      Defendants John Does 1-5 are police officers employed by the City of

Hartford who conspired with civilians to steal Mr. Behn’s property during the

execution of a search warrant to seize a single motorcycle; or those who acted in

reckless disregard or deliberate indifference to Mr. Behn’s property rights by

allowing civilians trespass on Mr. Behn’s real property during the execution of a

search and steal Mr. Behn’s property.

      9.      Defendants John Does 6-10 are supervisory officials whose liability

includes all or some of the following: their own culpable action or inaction in the

supervision or control of their subordinates, their acquiescence or ratification in

the constitutional deprivations alleged in this complaint, or conduct showing

reckless disregard or deliberate indifference to Plaintiffs rights.

                       III. JURISDICTION AND VENUE

      10.     The United States District Court for the Eastern District of

Wisconsin has jurisdiction under 28 U.S.C. § 1331 because Plaintiffs allege

violations of the United States Constitution.

      11.     The United States District Court for the Eastern District of

Wisconsin also has jurisdiction under 28 U.S.C. § 1343(a)(3) because Plaintiffs




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alleges that they was deprived of rights guaranteed by the United States

Constitution under color of State law.

      12.    The United States District Court for the Eastern District of

Wisconsin also has jurisdiction under 28 U.S.C. § 1343(a)(4) because Plaintiffs

seek damages under an Act of Congress, namely 42 U.S.C. § 1983, providing for

the protection of civil rights.

      13.    Venue in the United States District Court for the Eastern District of

Wisconsin is proper pursuant to 28 U.S.C. § 1391(b)(1) because the Defendants

reside in Eastern District of Wisconsin.

      14.    Venue in the United States District Court for the Eastern District of

Wisconsin is also proper pursuant 28 U.S.C. § 1391(b)(2) because the events giving

rise to Plaintiffs’ claims occurred in the Eastern District of Wisconsin.

                                  IV. THE FACTS

      15.    In August 2019, Mr. Behn lived in a single-family home in the City of

Hartford. Mr. Behn operated Circuit Racing out of his home.

      16.    On August 16, 2019, Richard Connors (“Agt. Connors”), an agent with

the Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”), asked City of

Hartford police officers to assist with the execution of a search warrant at Mr.

Behn’s home on August 20, 2019.

      17.    On August 20, 2019, ATF agents executed a search warrant on Mr.

Behn’s home.




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      18.   After the ATF’s warrant, Det. Engebretsen, Det. Thickens, Ofc.

Kraemer, and/or John Does 1-10 trespassed on Plaintiffs’ real property to conduct

a separate search concerning an investigation of a fleeing motorcycle.

      19.   Det. Engebretsen left Mr. Behn’s home to complete an application for

a search warrant that had already been drafted in anticipation of the trespassing.

      20.   Det. Engebretsen applied for a search warrant with the Circuit Court

for Washington County.

      21.   The Circuit Court for Washington County issued the requested

search warrant, which permitted the seizure of a single motorcycle.

      22.   Det. Engebretsen, Det. Thickens, Ofc. Kraemer, and/or John Does 1-

10 executed a second search warrant for the seizure of a single motorcycle.

      23.   Det. Engebretsen, Det. Thickens, Ofc. Kraemer, and/or John Does 1-

10 also conspired with or permitted civilians (i.e., persons who were not police

officers) to trespass on Plaintiffs real property and steal dozens of vehicles and

other property. These civilians were known to the officers to be involved in

property disputes with Plaintiffs.

      24.   During the civilians’ searches and thefts of Plaintiffs’ property, the

civilians caused damage to Plaintiffs’ real, personal, and business property.

                               V. THE CLAIMS

      25.   Plaintiffs incorporate here all other paragraphs in this complaint.

      26.   Det. Engebretsen acted contrary to the Fourth and Fourteenth

Amendments to the United States Constitution by conspiring with civilians to


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trespass on Plaintiffs’ property, cause damage to Plaintiffs’ property, and take-

and-carry away Plaintiffs’ property.

      27.   Det. Engebretsen acted contrary to the Fourth and Fourteenth

Amendments by permitting civilians to trespass on Plaintiffs’ property, cause

damage to Plaintiffs’ property, and take-and-carry away Plaintiffs’ property.

      28.   Det. Thickens acted contrary to the Fourth and Fourteenth

Amendments to the United States Constitution by conspiring with civilians to

trespass on Plaintiffs’ property, cause damage to Plaintiffs’ property, and take-

and-carry away Plaintiffs’ property.

      29.   Det. Thickens acted contrary to the Fourth and Fourteenth

Amendments by permitting civilians to trespass on Plaintiffs’ property, cause

damage to Plaintiffs’ property, and take-and-carry away Plaintiffs’ property.

      30.   Ofc. Kraemer acted contrary to the Fourth and Fourteenth

Amendments to the United States Constitution by conspiring with civilians to

trespass on Plaintiffs’ property, cause damage to Plaintiffs’ property, and take-

and-carry away Plaintiffs’ property.

      31.   Ofc. Kraemer acted contrary to the Fourth and Fourteenth

Amendments by permitting civilians to trespass on Plaintiffs’ property, cause

damage to Plaintiffs’ property, and take-and-carry away Plaintiffs’ property.

      32.   John Does 1-5 acted contrary to the Fourth and Fourteenth

Amendments to the United States Constitution by conspiring with civilians to




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trespass on Plaintiffs’ property, cause damage to Plaintiffs’ property, and take-

and-carry away Plaintiffs’ property.

      33.   John Does 1-5 acted contrary to the Fourth and Fourteenth

Amendments by permitting civilians to trespass on Plaintiffs’ property, cause

damage to Plaintiffs’ property, and take-and-carry away Plaintiffs’ property.

      34.   John Does 6-10 acted contrary to the Fourth and Fourteenth

Amendments through constitutionally deficient supervision and control of their

subordinates during the operation that caused Plaintiffs’ damages.

      35.   Given that an entire shift of officers descended on Plaintiffs’ property

with civilians whom the officers knew were going to steal Plaintiffs’ property, it

was the policy of the City of Hartford to cause the constitutional violations

complained of herein.

      36.   Moreover, the City of Hartford, through its police department,

subsequently ratified the constitutional violations complained of herein.

      37.   Defendants acted contrary to the Equal Protection Clause by singling

out Mr. Behn and his business.

      38.   Defendants treated similarly situated persons and business involved

in property more favorably than Plaintiffs. In other words, Defendants did not

permit other civilians involved in property disputes to trespass on property during

a search warrant and steal property or cause property damage.

      39.   Defendants singled out Mr. Behn and his business because of their

personal animus toward Mr. Behn.


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      40.    As a result of Defendants’ unlawful conduct, Plaintiffs suffered

injuries and damages, without limitation to property loss; lost profits; emotional

pain, suffering, inconvenience, mental anguish, and loss of enjoyment of life.

                           VI. RELIEF REQUESTED

      41.    Wherefore, Plaintiffs respectfully requests that this Honorable Court

enter judgment for them and against Defendants, jointly and severally, and

provide the following relief:

             a. An order awarding damages for property loss in an amount to be

                determined by a jury.

             b. An order awarding damages for lost profits in an amount to be

                determined by a jury.

             c. An order awarding damages for emotional pain, suffering,

                inconvenience, mental anguish, and loss of enjoyment of life in an

                amount to be determined by a jury.

             d. An order awarding punitive damages in an amount to be

                determined by a jury.

             e. An order awarding attorney’s fees, expert’s fees, and other taxable

                costs and disbursements in an amount to be determined by the

                Court.

             f. An order for such further necessary and property relief as

                determined by the Court, without limitation to pre- and post-

                judgment interest.


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                           VII. JURY DEMAND

     42.   Plaintiffs hereby demand a trial by a jury of on all issues of fact and

damages stated herein.


     Date: August 22, 2022.                      Respectfully submitted,

                                                 /s/ William F. Sulton
                                                 WILLIAM F. SULTON

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